                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

STANLEY GRISSOM,                             )
                                             )
        Plaintiff,                           )
                                             )
        vs.                                  ) Case No. 09-3244-CV-S-SWH
                                             )
JAMES ARNOTT, et al.                         )
                                             )
        Defendants.                          )


                      NOTICE REGARDING EXHIBIT ATTACHMENT


        The following exhibits are attachments to Defendants’ Reply Suggestions in Support of

their Motion for Summary Judgment. They are in hard-copy form and are being maintained in

the case file in the Clerk’s office:

    1. Exhibit 1 – Affidavit of James Jenkins previously filed with the Court and exhibits

        attached thereto.

    2. Exhibit 2 – Pages 34, 39, 95, 108 and 168 of the deposition of Plaintiff Stanley Grissom.

    3. Exhibit 3 – Plaintiff’s Second Amended Complaint.

    4. Exhibit 4 – Affidavit of Defendant James Arnott previously filed with the Court.




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                               CERTIFICATE OF SERVICE


       I hereby certify that on November 22, 2011, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which sent notification of such filing to the
following:

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                                                    /s/ Greggory D. Groves




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